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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Jointly Administered)
                                                           )
                                                           )   Re: Docket No. 14

             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO PAY CERTAIN
                 PREPETITION AND POSTPETITION TAXES AND FEES AND
                           (II) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors

to Pay Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief (the

“Motion”) 2 filed by the above-captioned debtors and debtors in possession (collectively, the

“Debtors”) for entry of an interim order (this “Interim Order”), (i) authorizing, but not directing,

the Debtors to remit and pay Taxes and Fees on an interim basis; (ii) granting related relief; and

(iii) scheduling a final hearing to consider approval of the Motion on a final basis, all as more fully

set forth in the Motion; and upon consideration of the First Day Declaration and the record of these

Chapter 11 Cases; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012, and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.
2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



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this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and the First Day Declaration and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED on an interim basis as set forth herein.

        2.       The final hearing (the “Final Hearing”) on the Motion shall be held on September

26, 2023, at 9:30 a.m., prevailing Eastern Time. Any objections or responses to entry of a final

order on the Motion shall be filed with the Court, and served so as to be received by the following

parties, by no later than 4:00 p.m., prevailing Eastern Time, on September 21, 2023: (i)

proposed counsel to the Debtors, Proskauer Rose LLP, Eleven Times Square, New York, NY

10036      (Attn:    Brian   S.   Rosen     (brosen@proskauer.com)        and    Megan      R.   Volin

(mvolin@proskauer.com); (ii) proposed co-counsel to the Debtors, Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801 (Attn: Laura Davis Jones

(ljones@pszjlaw.com); (iii) Office of the United States Trustee, J. Caleb Boggs Federal Building,

844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: Richard Schepacarter

(Richard.Schepacarter@usdoj.gov); and (iv) if any statutory committee has been appointed in the

Chapter 11 Cases, counsel to such committee.




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        3.       The Debtors are authorized, but not directed, to pay prepetition Taxes and Fees to

the Taxing Authorities, subject to an aggregate maximum of $511,600 consisting of (i) $383,000

in Sales and Use Taxes, (ii) $125,000 in Vehicle Inventory Taxes, and (iii) $3,600 in Regulatory

and Other Taxes and Fees. The Debtors’ rights to seek authority to pay any additional prepetition

Taxes and Fees in the event such additional Taxes and Fees are determined to be due and owing,

upon an audit or otherwise, are reserved.

        4.       Nothing in this Interim Order shall be construed as authorizing the Debtors to pay

any amounts on account of past-due taxes or to prepay any Taxes and Fees, except with respect to

trust fund taxes that do not constitute property of the Debtors’ estates.

        5.       This Interim Order is without prejudice to the rights of the Debtors and their estates

to contest the validity, priority or amounts of any Taxes and Fees or audit amounts on any grounds

they deem appropriate, and any rights of the Debtors and their estates with respect to such matters

shall be reserved.

        6.       The Banks shall be and hereby are authorized and directed to receive, process,

honor and pay all checks and fund transfers on account of the Taxes and Fees that had not been

honored and paid as of the Petition Date, provided that sufficient funds are on deposit in the

applicable accounts to cover such payments.            The Banks are authorized to rely on the

representations of the Debtors as to which checks and fund transfers are authorized to be honored

and paid pursuant to this Interim Order.

        7.       Notwithstanding the relief granted in this Order, any payment made by the Debtors

pursuant to the authority granted herein shall be subject to and in compliance with the

Court’s Interim Order (I) Authorizing the Use of Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a




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Final Hearing, and (V) Granting Related Relief (the “Cash Collateral Order”) and the Budget (as

defined in the Cash Collateral Order). To the extent there is any inconsistency between the terms

of such Cash Collateral Order and any action taken or proposed to be taken hereunder, the terms

of such Cash Collateral Order and the Budget shall control

        8.       Neither the provisions contained herein, nor any actions or payments made by the

Debtors pursuant to this Interim Order, shall be deemed an admission as to the validity of the

underlying obligation or a waiver of any rights any party in interest may have to subsequently

dispute any obligation on any ground that applicable law permits.

        9.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        10.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

        11.      The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Interim Order in accordance with the Motion.

        12.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Interim Order.




 Dated: September 15th, 2023                CRAIG T. GOLDBLATT
 Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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